                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN


WISCONSIN SHEET METAL WORKERS
HEALTH AND BENEFIT FUND,
WISCONSIN SHEET METAL WORKERS
401(k) PROFIT SHARING PLAN,
MILWAUKEE AREA SHEET METAL
JOURNEYMAN AND APPRENTICESHIP
TRAINING FUND,
and SCOTT KNOCKE and ROBERT JOSSART,
in their capacity as Trustees of the Funds,

                       Plaintiffs,

       v.                                                   Case No. 24-cv-757

HOLMING FAN AND FABRICATION, LLC,
and WILLIAM R. SELLARS,

                       Defendants.


                                         COMPLAINT


       NOW COME the Plaintiffs Wisconsin Sheet Metal Workers Health and Benefit Fund,

Wisconsin Sheet Metal Workers 401(k) Profit Sharing Plan, Milwaukee Area Sheet Metal

Journeyman and Apprenticeship Training Fund (hereinafter referred to as “Funds”), and Scott

Knocke and Robert Jossart, in their capacity as Trustees of the Funds, by their undersigned

attorneys, Reinhart Boerner Van Deuren, s.c., and as for a cause of action against the

Defendants, allege as follows:

                   JURISDICTIONAL AND FACTUAL ALLEGATIONS

       1.       Jurisdiction of this Court is founded upon Sec. 301(a) of the Labor Management

Relations Act of 1947, as amended (29 U.S.C. 185 (a)), and Sec. 502 of the Employee

Retirement Income Security Act of 1974 (29 U.S.C. 1132), in that the Funds are aggrieved by the




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Defendants’ violation of certain collective bargaining agreements, trust plans and trust

agreements, and Defendants’ continued refusal to submit timely contributions in accordance with

the terms of those plans and agreements, thereby violating the provisions of the Employee

Retirement Income Security Act of 1974, the Multi-Employer Pension Plan Amendments Act of

1980, the terms and provisions of the employee benefit plans, Section 301 of the Labor-

Management Relations Act of 1947, federal common law and the laws of the State of Wisconsin.

         2.       The Funds are employee benefit plans within the meaning of Sections 3(1), (2),

(3) and (37), 502 and 515 of ERISA, as amended by the Multiemployer Pension Plan

Amendments Act of 1980, PL. No. 96-364, Sec. 306 (codified as amended at 29 U.S.C. Sections

1002(2), (3) and (37), 1132 and 1145) and/or Section 301 of the Labor-Management Relations

Act of 1947, and bring this action on behalf of the Trustees, participants and beneficiaries of the

Funds. The Funds maintain offices c/o Benesys, Inc. at 2201 Springdale Road, Waukesha, WI

53186.

         3.       Plaintiffs Scott Knocke and Robert Jossart are trustees and fiduciaries of the

Funds, as well as participants and beneficiaries within the meaning of the Employee Retirement

Income Security Act of 1974 (29 U.S.C. 1002 et seq.) and as such have standing to be Plaintiffs

in this action and to seek the remedies prayed for.

         4.       Defendant Holming Fan and Fabrication, LLC (hereinafter “Holming Fan”), is a

domestic limited liability corporation organized under the laws of the State of Wisconsin, with

principal offices located at 6900 North Teutonia Avenue, Milwaukee, Wisconsin. The

corporation’s registered agent for service of process is William Sellars, 6900 North Teutonia

Avenue, Milwaukee, Wisconsin.




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       5.       Defendant William R. Sellars is the individual owner and single member of

Holming Fan and Fabrication, LLC who resides at 5776 North Shore Drive, Whitefish Bay,

Wisconsin 53217.

       6.       Holming Fan is an employer and party in interest in an industry affecting

commerce within the meaning of Sections 3(5), (11), (12) and (14) of the Employee Retirement

Income Security Act of 1974 (29 U.S.C. Sec. 1002(5), (11), (12) and (14)) and the Labor

Management Relations Act of 1947 (29 U.S.C. Sec. 151, et seq.).

       7.       At all times relevant, Holming Fan was a party to and agreed to abide by the

terms of a collective bargaining agreement known as the Labor Agreement between Local Union

No. 18, International Association of Sheet Metal, Air, Rail and Transportation Workers, AFL-

CIO (“Sheet Metal Local No. 18”) and The Sheet Metal and Air Conditioning Contractors’

Association of Milwaukee, Inc., originally signed by Sheet Metal Local No. 18 and by Holming

Fan on November 16, 2017, by means of a Letter of Assent, which remains in effect today.

Sheet Metal Local No. 18 is a labor organization which represents, for purposes of collective

bargaining, certain employees of Holming Fan, and employees of other employers in industries

affecting interstate commerce within the meaning of Sections 2(5), 9(a) and Sec. 301(a) of the

Labor Management Relations Act of 1947 (29 U.S.C. Sec. 151, et seq.). A true and correct copy

of the Letter of Assent and Labor Agreement are attached hereto as Exhibit A.

       8.       As a party to the Labor Agreement, Holming Fan agreed to make timely payments

to the Funds for each employee covered by the agreement. As a party to the Labor Agreement,

Holming Fan adopted the trust agreements and amendments thereof which establish and govern

the Funds and are necessary for their administration, and designated as its representatives on the

Board of Trustees such Trustees as have been named and appointed pursuant to said trust




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agreements, together with their successors selected in the manner provided in such trust

agreements, and thereby ratified all actions already taken or to be taken within the scope of their

authority.

       9.        By virtue of executing the Labor Agreement and adopting and assenting to all the

terms and provisions of the trust agreements, and the rules and regulations heretofore and

hereafter adopted by the Trustees of said trust funds, Holming Fan has agreed as follows:

                 a.     to file monthly reports and make timely and prompt contributions to the

Plaintiff Funds for each employee covered by the aforementioned Labor Agreement;

                 b.     to designate, and accept as its representatives, the Trustees named in the

declaration of trust and their successors;

                 c.     to adopt and abide by all of the rules and regulations adopted by the

Trustees of the Funds pursuant to the trust agreements;

                 d.     to adopt and abide by all of the actions of the Trustees in administering the

Funds in accordance with the trust agreements and the rules so adopted; and

                 e.     to pay, in addition to all of the contributions which are due and owing,

liquidated damages and interest relative to delinquent and/or late-paid contributions, and actual

attorneys’ fees, audit fees, court costs and service fees, should legal action be necessary to obtain

delinquent contributions and/or interest and/or liquidated damages.

       10.       Holming Fan has failed to perform its obligations under the terms and conditions

of the Labor Agreement and trust agreements by failing to make payments to the Funds as

required by the Labor Agreement and applicable trust agreements for all of Holming Fan’s

covered employees, and by failing to accurately report employee work status to the Funds.




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       11.     Section 502(g)(2) of ERISA, as amended by the Multiemployer Pension Plan

Amendments Act of 1980 (Sec. 306(b)(2)) provides:

               (2)     In any action under this title by a fiduciary for or on behalf
               of a plan to enforce section 515 in which a judgment in favor of the
               plan is awarded, the court shall award the plan –
                       (A)    the unpaid contributions,

                       (B)    interest on the unpaid contributions,

                       (C)    an amount equal to the greater of –

                              (i)     interest on the unpaid contributions, or

                              (ii)    liquidated damages provided for under the plan in an
                                      amount not in excess of 20 percent (or such higher
                                      percentage as may be permitted under Federal of State law)
                                      of the amount determined by the court under
                                      subparagraph (A),
                       (D)    reasonable attorney’s fees and costs of this action, to be
                               paid by the defendant, and
                       (E)    such other legal or equitable relief as the court deems appropriate.

                       For purposes of this paragraph, interest on unpaid
                       contributions shall be determined by using the rate
                       provided under the plan, or, if none, the rate prescribed
                       under Section 6621 of the Internal Revenue Code of 1954.

       12.     Section 515 of ERISA provides that “[e]very employer who is obligated to make

contributions to a multiemployer plan under the terms of the plan or under the terms of a

collectively bargained agreement shall, to the extent not inconsistent with law, make such

contributions in accordance with the terms and conditions of such plan or agreement.”

       13.     Incorporated into the Funds’ Trust Agreements is a “Delinquency Collection

Procedure.,” which authorizes the Trustees to take legal action to collect unpaid contributions,

including interest and liquidated damages, and to recover all costs and attorneys’ fees incurred in

collecting unpaid or overdue amounts from any delinquent employer.


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       14.     The Delinquency Collection Procedure further provides that, in legal actions to

collect delinquencies, the delinquent employer shall be liable for the following: (1) the

delinquent contribution amount; (2) interest on the delinquent contribution amount;

(3) liquidated damages at the rate of 5% of the delinquent contribution or, in the case of

delinquencies lasting multiple months, a rate of 5% for the first month with 5% interest rate

increases each additional month the amount remains delinquent up to a maximum of 20%; and

(5) all costs of recovery, including, but not limited to, attorneys’ fees and costs of prosecution of

the legal action. A true and correct copy of the Delinquency Collection Procedure is attached

hereto as Exhibit B.

       15.     Despite demands that Holming Fan perform its statutory and contractual

obligations, Holming Fan has failed to make payments on a timely basis for the work months of

December 2022 through May 2024. As a result, according to two independent audits of the

company’s books and records—one for the period of December 2022 through December of 2023

and the other for the period of January 2024 through May of 2024—Holming Fan is now

indebted to the Funds for that period of time as follows: Wisconsin Sheet Metal Workers Health

and Benefit Fund $61,055.50; Milwaukee Area Sheet Metal Journeyman and Apprenticeship

Training Fund $7,949.14; Wisconsin Sheet Metal Workers 401(k) Profit Sharing Plan $3,736.83.

A copy of both of the audit results are attached hereto as Exhibit C.

                                COUNT I BY ALL FUNDS
                            VIOLATION OF ERISA SECTION 515

       16.     Plaintiffs reallege each and every allegation contained in paragraphs 1 through 15

above and incorporate the same as though fully set forth herein.

       17.     Due demand has been made upon Holming Fan for payment of all sums due and

owing for the work months of December 2022 through May 2024.



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       18.     Holming Fan has refused to pay all amounts due for the work months of

December 2022 through May 2024.

       19.     As a result of Holming Fan’s failure to make timely contributions on behalf of all

covered employees, the corpus of each of Plaintiffs’ trust funds is reduced, Plaintiffs’ income is

reduced, and their ability to pay benefits to qualified participants and beneficiaries is curtailed.

       20.     As a result of Holming Fan’s failure to make timely contributions payable for the

work months in accordance with the Labor Agreement, Holming Fan has violated ERISA

Section 515 (29 U.S.C. Section 1145), and the Funds are entitled to damages as set forth in

ERISA Section 502(g)(2) (29 U.S.C. Section 1132(g)(2)).

                        COUNT II BY ALL FUNDS
       BREACH OF TRUST AGREEMENT RULES (BENEFIT DELINQUENCY)

       21.     Plaintiff Funds reallege each and every allegation contained in Paragraphs 1

through 20 above and incorporates the same as though fully set forth herein.

       22.     Holming Fan is a party to and bound by the Funds’ Trust Agreements. The

Delinquency Collection Procedure, incorporated into the Trust Agreements, obligates Holming

Fan to make timely contribution payments to the Funds as required under the terms of the Labor

Agreement. Under the Delinquency Collection Procedure, the Trustees are entitled to interest

and liquidated damages in addition to delinquent contributions. The Delinquency Collection

Procedure further provides that the Trustees are entitled to recover all costs and reasonable

attorneys’ fees incurred in the collection of delinquent contributions.

       23.     The Delinquency Collection Procedure item 6 provides as follows:

               If a delinquency is referred to legal counsel for collection, the delinquent
               Employer shall be liable for the amount of its contributions and the
               following:
               (a) Interest as described in item 4;



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                (b) Liquidated damages described in item 3;
                (c) All costs of recovery, including, but not limited to, attorney’s fees and
                    costs of the action.
        24.     As a result of its failure to make timely contributions in accordance with the

collective bargaining agreement, Holming Fan has violated the terms of the Trust Agreements.

Based upon the Trust Agreements’ and the Funds’ delinquency rules, Holming Fan is liable to

the Funds for delinquent contributions, interest, liquidated damages, and the expenses of

collection incurred by the Funds, including reasonable attorneys’ fees and costs.

        25.     As a result of Holming Fan’s failure to make timely contributions, some of the

Funds’ beneficiaries and participants could have eligibility terminated and benefits reduced for

which they would otherwise qualify. These beneficiaries and participants would be left without

an adequate remedy at law and would suffer severe and irreparable harm if said Defendant is not

mandatorily compelled to comply with its collective bargaining agreement and enjoined from

further breaches.

                COUNT III BY WISCONSIN SHEET METAL WORKERS
           401(k) PROFIT SHARING PLAN AGAINST WILLIAM R. SELLARS
                            THEFT BY CONTRACTOR

        26.     As and for a claim for relief against defendant William R. Sellars, Plaintiff

Wisconsin Sheet Metal Workers 401(k) Profit Sharing Plan ("401k Plan") realleges each and

every allegation contained in paragraphs 1 through 25 above and incorporates the same as though

fully set forth herein.

        27.     Defendant Holming Fan is a party to and bound by the trust agreement of the

401k Plan. The trust agreement obligates William R. Sellars, in his capacity of owner and sole

member of the LLC, to deduct directly from employees' paychecks timely contribution payments

to the 401k Plan as required by individual direction of Holming Fan employees. The




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Delinquency Collection Procedure of the trust agreement authorizes the trustees to collect

reasonable interest and liquidated damages to be added to delinquent contributions. The

Delinquency Collection Procedure of the trust agreement further provides that the trustees are

entitled to recover all costs and reasonable attorneys' fees incurred in the collection of delinquent

contributions.

       28.       As owner and sole member of the limited liability corporation of Holming Fan,

William R. Sellars has control over payment of contractual obligations taken on by the company.

As part of that duty, Wiliam R. Sellars is to ensure that 401k Plan assets are set aside and paid

directly to the 401k Plan as soon as the appropriate amounts are deducted from the paychecks of

Holming Fan employees.

       29.       In failing to properly contribute deducted wages from employee paychecks to the

401k Plan, William R. Sellars has improperly diverted 401k Plan assets and has committed theft

by contractor pursuant to Section 779.02(5) of the Wisconsin Statutes and federal common

contract law.

       30.       Defendant William R. Sellars failed to make proper and timely contributions on

behalf of Holming Fan employees to the 401k Plan during the months of August through

December 2023, inclusive, in the amount of $1,671.14, plus applicable interest of $538.08 and

liquidated damages of $1,527.61.

       31.       The 401k Plan has been damaged as set forth above due to the misappropriation

of funds and as a result Defendant William R. Sellars is personally liable to the 401k Plan.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

       1.        Judgment on behalf of the Plaintiffs and against the Defendant Holming Fan:




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               a.     For contributions, interest and liquidated damages incurred as a result of

the failure to timely pay contributions to the Funds from December 1, 2022 to the date of the

filing of this lawsuit, pursuant to ERISA and the terms of the Trust Agreements and the Funds’

delinquency rules;

               b.     For reasonable attorneys’ fees and actual costs incurred in the prosecution

of this legal action, pursuant to ERISA and the terms of the Trust Agreements and the Funds’

delinquency rules; and

               c.     For unpaid contributions, variances, interest and liquidated damages

becoming due and/or arising from the date of the filing of this lawsuit through the date of

judgment.

       2.     An order requiring Holming Fan to serve on Plaintiffs’ counsel, within ten (10)

days of the date of said order, a list of Holming Fan’s accounts receivable. With respect to each

account receivable, Holming Fan shall itemize:

               a.     The amount of each account receivable.

               b.     The period of time during which such receivable accrued.

               c.     The location of the premises upon which the work was performed.

               d.     The nature of the improvement involved for which the account receivable

                      is due.

               e.     The present outstanding amount of wages and fringe benefits still owed

                      for labor on the improvement (itemized by individual and by month on

                      each project or improvement separately).

       3.      Judgment on behalf of the Wisconsin Sheet Metal Workers 401(k) Profit Sharing

Plan and against defendant William R. Sellars:




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                        (a)     For $1,671.14 representing delinquent contributions presently

                 owed to the 401k Plan for the work months of August through December 2023;

                        (b)     For interest accrued through the date of the commencement of this

action and liquidated damages incurred as a result of the failure to timely pay deducted

contributions to the 401k Plan for the delinquent work months of August through December

2023, pursuant to ERISA and the terms of the Labor Agreement, the trust agreements and the

applicable 401k Plan's' delinquency rules;

                        (c)     For reasonable attorneys' fees and actual costs incurred in the

prosecution of this legal action, pursuant to ERISA and the terms of the collective bargaining

agreement, the trust agreements and the applicable 401k Plan's delinquency rules; and

        4.       The Court should retain jurisdiction pending compliance with its orders.

        5.       For such other, further or different relief as the Court deems just and proper.

        Dated this 18th day of June, 2024.


                                                s/ Philip R. O’Brien
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